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To whom it may concern,




       On behalf of Ryan Nichols that I would like to put my condolences with his family

during this difficult time. I have known Ryan for 8 years since 2013. We served together in the

Marine Corps, which when I arrived I was a new Marine straight out of training. Straight when I

arrived to our Unit 2nd Battalion 1st Marines located in Camp Horno, in Camp Pendleton, Ryan

treated me with the upmost respect. As I was mistreated by other people, Ryan would often step

in and stop it and make it known that mistreatment wouldn’t be allowed in his presence. Ryan

was the type of guy would look out for everyone and would give you the shirt off of his back.

Ryan was the person that you could go to when you were having problems in your personal life

or adjusting to the military. Even after Ryan got out of the Marines he still exemplified the

Hoorah that is instilled into us in the Marines. Ryan started his own Non profit using his own

money to travel across the country to help those in need. Even having a family and a successful

business Ryan knew that their was a chance that he wouldn’t return home. His selflessness into

running into hurricanes, tornadoes, and storms to rescue people is a true testament to his

character. What happened during the capitol protests is not a true reflection of Ryan or what he

stands for. Ryan doesn’t deserve what is being presented to him in court and deserves to have

justice on his side. Ryan has two young children that will be fatherless and a community and

country will be left in shambles. Ryan is a hero for serving in what many Americans don’t do.

Serving in the Marines and rescuing stranded people during Hurricanes should positively reflect

who Ryan Nichols is. Thank you for taking the time to read this.


Sincerely, Michael Cormier
